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  1   Robert P. Goe - State Bar No. 137019
      Charity J. Miller – State Bar No. 286481
  2   GOE & FORSYTHE, LLP
      18101 Von Karman Avenue, Suite 1200
  3   Irvine, CA 92612
      rgoe@goeforlaw.com
  4   cmiller@goeforlaw.com
      Telephone: (949) 798-2460
  5   Facsimile: (949) 955-9437
  6   Counsel for Debtor and Debtor in Possession
      Russel Dennis Hiles, III
  7
  8
  9                            UNITED STATES BANKRUPTCY COURT

 10               CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION
 11   In re:                                              Case No. 6:16-bk-16877-WJ
      RUSSEL DENNIS HILES, III,                           Chapter 11 Proceeding
 12
                                                          NOTICE OF MOTION FOR ORDER
 13                                                       APPROVING SALE OF ESTATE
                  Debtor and Debtor-in-Possession.
                                                          PROPERTY PURSUANT TO 11 U.S.C.
 14                                                       SECTION 363(b)(1)
 15
                                                          [No Hearing Required Per LBR 6004-1(d)]
 16
 17           TO THE HONORABLE WAYNE JOHNSON, UNITED STATES BANKRUPTCY
      JUDGE, THE UNITED STATES TRUSTEE, AND TO ALL PARTIES IN INTEREST:
 18           PLEASE TAKE NOTICE that Debtor and Debtor-in-Possession, Russel Dennis Hiles, III
 19   (“Debtor”), hereby respectfully moves this Court for an Order approving his Motion for an Order
      Approving Debtor’s Sale of Estate Property Pursuant to 11 U.S.C. Section 363 (“Motion”).
 20           By the Motion, Debtor seeks authority pursuant to Section 363(b)(1) of the Bankruptcy
      Code to sell Debtor’s 2001 Jeep Wrangler (the “Jeep”). Approval of the Motion is in the best
 21   interests of the estate as it will generate funds for the benefit of the estate.
 22           On August 1, 2016 (“Petition Date”), Debtor filed a voluntary petition under chapter 11 of
      Title 11 of the Bankruptcy Code, commencing this case entitled In re Russel Dennis Hiles, III,
 23   Case No. 8:16-bk-16877-WJ.
              Debtor is managing his affairs as a debtor and debtor-in-possession. No trustee or
 24   examiner has been appointed in this case.
              On the Petition Date, Debtor was the owner of the Jeep, free and clear of any liens, which
 25
      is property of this bankruptcy estate.
 26           Debtor’s Schedule A valued the Jeep at $5,000. The Jeep has approximately 70,000 miles
      on it.
 27           Subject to approval by this Court, Debtor shall sell the Jeep to BV Automotive, LLC
      (“BV”), 1620 Avenida Verde Vista, San Dimas, CA 91773, for $8,000.
 28



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             Debtor believes the purchase price represents a fair and excellent price for the Jeep.
  1
             The sale of the Jeep is an arms-length transaction between Debtor and BV. Debtor has no
  2   connection to BV and submits that the sale of the Jeep is in the best interests of the estate as it
      generates income for the estate.
  3          In this case, a sound business justification exists for allowing the Debtor to sell the Jeep
      and will generate income for the benefit the estate.
  4          IF YOU DO NOT OPPOSE THE MOTION, YOU NEED TAKE NO FURTHER
  5   ACTION. IF YOU OBJECT TO THE MOTION, PURSUANT TO LOCAL
      BANKRUPTCY RULE 9013-1 (o) (1) (A) (ii), OBJECTIONS AND A WRITTEN REQUEST
  6   FOR HEARING MUST BE FILED WITH THE COURT WITHIN 17 DAYS OF THE
      DATE OF SERVICE OF THIS NOTICE, IN THE FORM REQUIRED BY LOCAL
  7   BANKRUPTCY RULE 9013-1(o)(1). YOU MUST FILE YOUR OBJECTION AND
      REQUEST FOR A HEARING WITH THE CLERK OF THE UNITED STATES
  8
      BANKRUPTCY COURT LOCATED AT 3420 TWELFTH STREET, RIVERSIDE, CA
  9   92501. YOU MUST SERVE A COPY OF YOUR OBJECTION TO THE MOTION AND
      REQUEST A HEARING ON THE DEBTOR’S COUNSEL AT THE ADDRESS
 10   INDICATED IN THE UPPER LEFT-HAND CORNER OF THIS NOTICE, AND UPON
      THE OFFICE OF THE UNITED STATES TRUSTEE LOCATED AT 3801 UNIVERSITY
 11   AVENUE, SUITE 720, RIVERSIDE, RIVERSIDE, CA 92501. UPON RECEIPT OF A
 12   WRITTEN OBJECTION AND REQUEST FOR HEARING, THE DEBTOR’S COUNSEL
      WILL OBTAIN A HEARING DATE AND GIVE APPROPRIATE NOTICE THEREOF.
 13   ANY FAILURE TO TIMELY FILE AND SERVE OBJECTIONS MAY RESULT IN
      ANY SUCH OBJECTIONS BEING WAIVED.
 14
 15   DATED: October 3, 2016                       GOE & FORSYTHE, LLP
 16
 17                                                By: /s/Robert P. Goe
                                                        Robert P. Goe
 18                                                     Attorneys for Russel Dennis
                                                        Hiles, III, Debtor and Debtor-in-Possession
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  1                                     PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612
  3
      A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION FOR ORDER
  4   APPROVING SALE OF ESTATE PROPERTY PURSUANT TO 11 U.S.C. SECTION 363(b)(1) will be
      served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
  5   and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On (date) October 3, 2016, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
  8   List to receive NEF transmission at the email addresses stated below:

  9          Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
             Samuel Kornhauser skornhauser@earthlink.net
 10          Joshua Lichtman joshua.lichtman@nortonrosefulbright.com,
              Rhonda.cole@nortonrosefulbright.com
 11          William F McDonald Caecf@tblaw.com, wfm@tblaw.com;snchampney@tblaw.com
             Jason K Schrader jason.K.Schrader@usdoj.gov
 12          United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
             Rebecca J Winthrop rebecca.winthrop@nortonrosefulbright.com,
 13           darla.rodrigo@nortonrosefulbright.com
             Jennifer C Wong bknotice@mccarthyholthus.com
 14
      2. SERVED BY UNITED STATES MAIL:
 15   On (date) October 3, 2016, I served the following persons and/or entities at the last known addresses in
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
 16   envelope in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge
      here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 17   document is filed.

 18                                                      Service information continued on attached page

 19
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
 20   (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) October 3, 2016, I served the following persons and/or entities by personal delivery, overnight mail
 21   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 22
           Honorable Wayne Johnson, USBC, 3420 Twelfth Street, Riverside, CA 92501
 23
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 24
       October 3, 2016        Susan C. Stein                                 /s/Susan C. Stein
 25    Date                    Printed Name                                  Signature
 26
 27
 28



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                                  Debtor
                                                                         United States Trustee (RS)
In re 6:16-bk-16877-WJ            Russel Dennis Hiles, III
                                                                         3801 University Avenue, Suite 720
In re Russel Dennis Hiles, III    155 Metate Place
                                                                         Riverside, CA 92501-3200
                                  Palm Desert, CA 92260


Amex                              Anthony Capobianco
                                                                         Bank of America
Correspondence                    Capobianco Law Offices, P.C.
                                                                         9000 Southside Blvd., Bldg. 700 File
Po Box 981540                     41990 Cook Street, Bldg. F Ste. 2006
                                                                         Jacksonville, FL 32256-6705
El Paso, TX 79998-1540            Palm Desert, CA 92211


Bank Of America
                                  Bank Of The West                       Barclays Bank Delaware
Nc4-105-03-14
                                  2527 Camino Ramon                      Po Box 8801
Po Box 26012
                                  San Ramon, CA 94583-4213               Wilmington, DE 19899-8801
Greensboro, NC 27420-6012


Chase Card Services                                                      Citi
                                  Christopher T. Borgeson
Attn: Correspondence Dept                                                Citicorp Cr Srvs/Centralized Bankruptcy
                                  2150 Ladera Rd.
Po Box 15298                                                             Po Box 790040
                                  Ojai, CA 93023-8337
Wilmington, DE 19850-5298                                                St. Louis, MO 63179-0040



Concierge Auctions, LLC           County of Los Angeles-Treas. & Tax     County of San Diego - Tax Collector
405 Lexington Avenue              PO Box 54110                           1600 Pacific Hwy., Rm. 162
New York, NY 10174-0002           Los Angeles, CA 90054-0110             San Diego, CA 92101-2474



De Castro West, et al.
                                  Deschutes County Treasurer             Eisenhower Medical Center
Attn: Michael Cohen
                                  1300 NW Watt St., #200                 39000 Bob Hope Drive
10960 Wilshire Blvd., 14th Fl.
                                  Bend, OR 97701                         Rancho Mirage, CA 92270-3221
Los Angeles, CA 90024-3702


Farmers Insurance Co.             Farmers Insurance Company, Inc.        Farmers Insurance Company, Inc.
Attn: Doren E. Hohl, Agent        c/o Stoel Rives LLP                    Attn: Doren E. Hohl, Agent
6301 Owensmouth Ave.              760 SW Ninth Ave. Ste. 3000            6301 Owensmouth Ave.
Woodland Hills, CA 91367-2216     Portland, OR 97205-2586                Woodland Hills, CA 91367-2268



Farmers Insurance Company, Inc.   Farmers Insurance Exchange             Ford Motor Credit
PO Box 2450                       6301 Owensmouth Avenue                 Po Box 62180
Grand Rapids, MI 49501-2450       Woodland Hills, CA 91367-2216          Colorado Springs, CO 80962-2180



Franchise Tax Board
                                  Franchise Tax Board                    Internal Revenue Service
Attn-Bankruptcy
                                  PO Box 942867                          PO Box 145566
PO Box 2952
                                  Sacramento, CA 94267-0001              Cincinnati, OH 45250-5566
Sacramento, CA 95812-2952


                                                                         Keybank NA
Internal Revenue Service          Internal Revenue Service
                                                                         Attn: Recovery Payment Pr
PO Box 7346                       1973 N. Rulon White Blvd.
                                                                         4910 Tiedeman Road (Rtg Code: 08-01-
Philadelphia, PA 19101-7346       Ogden, UT 84201-0021
                                                                         Brooklyn, OH 44144-2338
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                                       Master Card
Loma Linda Medical Center                                                       Mb Fin Svcs
                                       837 3rd St.
11234 Anderson St.                                                              36455 Corporate Dr
                                       Santa Monica, CA 90403-1159
Loma Linda, CA 92354-2804                                                       Farmington Hills, MI 48331-3552
                                       RTS Unable to Fwd 08-09-16


Porsche Financial Srvc                 California State Board of Equalization   Suntrust Mortgage/cc 5
980 Hammond Dr                         Account Reference Group, MIC: 29         Attn: Bankruptcy Dept
Atlanta, GA 30328-6161                 PO Box 942879                            1001 Semmes Ave Va-Wmrk-7952
RTS Unable to Fwd 08-12-16             Sacramento, CA 94279-0029                Richmond, VA 23224-2245


Bank of America, N.A.                  Farmers Insurance Exchange               Bank of the West
                                       c/o Rebecca J. Winthrop
c/o McCarthy & Holthus, LLP                                                     2527 Camino Ramon
                                       North Rose Fulbright US LLP
1770 Fourth Avenue                                          st
                                       555 S. Flower St., 41 Fl.                PO Box 5172
San Diego, CA 92101-2607               Los Angeles, CA 90071-2300               San Ramon, CA 94583-5172



Bighorn Clubhouse Project, MSC 614     Bighorn Golf Club-Clubhouse Project      Bighorn Homeowners Assn. MSC 855
PO Box 52163                           255 Palowet Drive                        PO Box 29048
Phoenix, AZ 85072-2163                 Palm Desert, CA 92260-7311               Phoenix, AZ 85038-9048



Bighorn Homeowners Assn.               Central Electric Cooperative Inc.        Cindy Ellen Hiles
255 Palowet                            POI Box 846                              13327 Atwater Lane
Palm Desert, CA 92260-7311             Redmond, OR 97756-0187                   Lake Oswego, OR 97034-2127


                                                                                Farmers Insurance Exchange
Cranfill, Sumner & Hartzog             Deschutes County Assessor                c/o Norton Rose Fulbright
PO Box 27808                           PO Box 6005                              Peter Mason and Joshua Lichtman
Raleigh, NC 27611-7808                 Bend, OR 97708-6005                      555 South Flower Street, 41st Fl.
                                                                                Los Angeles, CA 90071-2300


Franchise Tax Board                    Internal Revenue Service                 Internal Revenue Service
Vehicle Registration Collections       Centralized Insolvency Operations
                                       PO Box 7346
                                                                                225 W. Broadway, Suite 200
PO Box 419001
                                       Philadelphia, PA 19101-7346              Glendale, CA 91204-1345
Rancho Cordova, CA 95741-9001



Katz Cassidy                           KeyBank                                  Law Offices of Ryneal & Ryneal
11400 W. Olympic Blvd., Ste. 1050      PO Box 94722                             3890 11th St., Ste. 116
Los Angeles, CA 90064-1587             Cleveland, OH 44101-4722                 Riverside, CA 92501-3572



Law Offices of William A. Brown, Jr.   Los Angeles Collection Service Inc.      Mercedes Benz Financial Services
865 Figueroa St., Ste. 2640            2140 Westwood Blvd., Ste. 222            PO Box 685
Los Angeles, CA 90017-5472             Los Angeles, CA 90025-6333               Roanoke, TX 76262-0685



Mercedes Benz Financial Services                                                Paychex
                                       Michael & Associates, PC
PO Box 17466                                                                    c/o CT Corporation System
                                       555 St. Charles Dr., Ste. 204
Baltimore, MD 21297-1466               Thousand Oaks, CA 91360-3992             818 W. Seventh St., Ste. 930
Unable to Fwd RTS 09-17-16                                                      Los Angeles, CA 90017-3476
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Public Storage                    Public Storage                      Riverside County Assessor-Clerk
11259 W. Olympic Blvd.            72-150 Fred Waring Dr.              PO Box 751
Los Angeles, CA 90064-1720        Palm Desert, CA 92260-2750          Riverside, CA 92502-0751



San Diego County Treasurer-Tax    VCA Rancho Mirage Animal Hospital   Veritext Century Reports
1600 Pacific Hwy., Rm. 162        71-075 Hwy. 111                     20 Corporate Park, Ste. 350
San Diego, CA 92101-2477          Rancho Mirage, CA 92270-4122        Irvine, CA 92606-5190



De Castro West, et al.            Daimler Trust                       Christopher T. Borgeson
                                  c/o BK Servicing, LLC
10960 Wilshire Blvd., 14th Fl.    PO Box 131265
                                                                      155 Jackson St., Ste. 1807
Los Angeles, CA 90024-3702        Roseville, MN 55113-0011            San Francisco, CA 94111-1936



Cranfill Sumner & Hartzog LLP     Franchise Tax Board                 Farmers Insurance Company, Inc.
                                  Bankruptcy Section MS A340
5420 Wade Park Blvd., Ste. 300    PO Box 2952
                                                                      PO Box 2450
Raleigh, NC 27607-4189            Sacramento, CA 95812-2952           Grand Rapid, MI 49501-2450



KeyBank N.A.                      Riverside County Tax Collector      Riverside County Tax Collector
4910 Tiedeman Road                4080 Lemon St., 4th Floor           Box 12005
Brooklyn, OH 44144-2338           Riverside, CA 92501-3634            Riverside, CA 92502-2205



Lavar Taylor
3 Hutton Center Dr., Ste. 500
Santa Ana, CA 92707-8711
